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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                          WACO DIVISION

WSOU INVESTMENTS, LLC d/b/a,                  §
BRAZOS LICENSING AND                          §
DEVELOPMENT                                   §
                                              §
v.                                            §        CASE NO. 6:20-cv-585 [ADA]
                                              §
GOOGLE LLC                                    §


 UNOPPOSED MOTION FOR WITHDRAWAL OF ATTORNEY PATRICK CLUTTER

         Defendant Google LLC (“Defendant”) hereby moves for Patrick Clutter, formerly of Potter

Minton, PC, to be permitted to withdraw as counsel for Defendant in this case. The withdrawal of

Patrick Clutter will not delay this proceeding and will not prejudice any party. No other changes

are required regarding other attorneys at the Law Firms of Warren Lex LLP, Jones Day and Potter

Minton, PC, and they shall continue acting as counsel of record for Defendant.

         Defendant respectfully requests that the Court grant this Motion and enter an order

permitting Patrick Clutter to withdraw from this action as counsel for Defendant. Defendant further

requests that the Court and all parties remove Patrick Clutter from all service lists, including ECF

service lists, and cease to serve him with orders, motions, discovery, and all other documents

subject to service and/or notice in this proceeding.

         Dated: April 28, 2022                Respectfully submitted,

                                              /s/ Michael E. Jones
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                                           GOOGLE LLC


                               CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that counsel for Defendant conferred with counsel for
Plaintiff regarding the Unopposed Motion to Withdraw Patrick Clutter and Plaintiff’s counsel
consented to the requested relief.

                                           /s/ Michael E. Jones
                                           Michael E. Jones




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